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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS
 PAUL DILLON and TAMMY DILLON,                          )
                                                        )
                  Plaintiff(s),                         )
                                                        )
         VS.                                            )    CASE NO. CV 08-282-GPM-PMF
                                                        )
 M.D. JERRY ZANG; ILLINOIS-                             )
 INDIANA EM-1 MEDICAL SERVICES,                         )
 S.C., a corporation; UNITED STATES OF                  )
 AMERICA;                                               )
                                                        )
                  Defendant(s).                         )
                                      ORDER FOR AND NOTICE OF
                                      SETTLEMENT CONFERENCE
 TO ALL PARTIES AND COUNSEL OF RECORD:
         A settlement conference in the above case is set before the Honorable Philip M. Frazier, U.S.
 Magistrate Judge, in the U. S. Courthouse, Courtroom No. 2, 301 West Main St., Benton, Illinois, on
 January 13, 2010, at 9:00 a.m.
         The purpose of the settlement conference is to permit an informal discussion of every aspect of the
 lawsuit bearing on its settlement value and to discuss, propose and consider, and in appropriate instances to
 enter into settlement agreements.     For these purposes it is essential that in addition to trial counsel the
 individual parties be present and in the case of corporate parties and insurance carriers a representative
 executive with unrestricted authority to settle the case.
         The parties are directed to submit ex parte and under seal to Judge Frazier a settlement conference
 statement, in the form attached hereto, on or before January 6, 2010, setting forth, among other things, each
 party's position concerning factual issues, issues of law, damages or relief requested, and the party's
 settlement position and grounds therefor. Such settlement statement may be mailed to Judge Philip M.
 Frazier, U. S. Courthouse, 301 W. Main St., Benton, Illinois 62812, in an envelope marked "Confidential
 - Submitted Under Seal," or if the parties prefer, they may submit their settlement statement to Judge Frazier
 VIA his official proposed document e-mail address, which is PMFpd@ilsd.uscourts.gov , or they may FAX
 it to him at 618/439-6325. The settlement statement is NOT to be electronically or manually filed with the
 U.S. Clerk’s Office as it is not part of the official court record. Neither the settlement statement nor the
 contents thereof shall be disclosed to any other party, and the same shall remain under seal to be opened only
 by the Court.
         Pertinent evidence to be offered at trial, documents or otherwise, should be brought to the settlement
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 conference for presentation to the settlement judge if thought particularly relevant.
         Neither the settlement conference statements nor communications during the settlement conference
 with the settlement judge can be used by either party in the trial of the case.
         In addition to counsel who will try the case being present, the individual parties shall also be present,
 and in the case of corporate parties, associations or other entities, and insurance carriers, a representative
 executive with unrestricted authority to discuss, consider, propose and agree, or disagree, to any settlement
 proposal or offer shall also be present.
         IF EITHER PARTY BELIEVES THAT A SETTLEMENT CONFERENCE WOULD BE
 FUTILE, THEN THAT PARTY SHALL CONTACT THE COURT NOT LATER THAN SEVENTY-
 TWO HOURS PRECEDING THE SCHEDULED SETTLEMENT CONFERENCE.
         IT IS SO ORDERED.
         DATED: October 19, 2009.
                                                                s/Philip M. Frazier
                                                                PHILIP M. FRAZIER
                                                                UNITED STATES MAGISTRATE JUDGE
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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                                             )
                                                             )
                                                             )
                   Plaintiff(s),                             )
                                                             )
          VS.                                                )     CIVIL NO.
                                                             )
                                                             )
                                                             )
                                                             )
                   Defendant(s).                             )
                                     SETTLEMENT STATEMENT OF
                          ________________, ATTORNEY FOR ___________________
          This Settlement Statement is submitted ex parte pursuant to Order of the Court and shall not become a part

 of the official court file. Neither this statement nor communication during the settlement conference with the

 settlement judge can be used by any party in the trial of the case. This Statement should not exceed five (5) pages

 in length.

          Your position or interpretation of the factual issues:

          Your position as to the issues of law:

          Name of Trial Attorney:

          Name of person with ultimate settlement authority who will be present at the Settlement Conference. If
          insurance is involved, include name of carrier and name of its representative with unrestricted authority:

          Nature of relief requested:

          Nature and extent of injuries, if applicable:

          Outline of your discovery plan, including your estimate of the total number of depositions you expect
          to take:

          Nature and extent of discovery completed to date:

          Your estimate of the total expenses to your client to the present and through trial, including (a) legal
          fees, (b) travel expenses, (c) expert witness fees and expenses, (d) cost of disposition transcripts, (e) witness
          fees, and (f) any other foreseeable miscellaneous expenses:

          Summarize settlement discussions you have had with opposing party including demands and offers:

          Date of last settlement discussion: __________________________________

          DATED: ____________________________

                                                                   SIGNED:

                                                                   ______________________________________
                                                                   Responsible Attorney
